Case 1:20-cv-07311-LAK Document 169 File@-O6/23/28 «Ragerdiotiaitinn siete one

 

 

| USDC SDNY:
UNITED STATES DISTRICT COURT DOCUMENT.

SOUTHERN DISTRICT OF NEW YORIs

E. JEAN CARROLL,

 

 

2 | ELE RONICALLY FILED
| DOC #__ .?
: | DATE FILED: é- 13- 2023

 

 

 

Plaintiff, ms

   
 

#
Tamer anni oo mem nner ety NECA SSR Art
-against- 20-cv-7311 (LAK)
DONALD J. TRUMP, in his personal capacity,
Defendant.
woe ee ee ee ee eee ee x
ORDER
LEWIS A. KAPLAN, District Judge.
1. The plaintiffs motion for leave to amend [Dkt 155] is granted. A

memorandum opinion may follow. The amended complaint is deemed served and filed today.

2, Defendant has requested that the Court, “[s]hould the Court .. . deny
Plaintiff's Motion to Amend” [Dkt 164, at 19], grant defendant permission to file a supplemental
motion for summary judgment. As the Court has granted plaintiff's motion, that request is moot,

3. The United States concedes that subsequent events have “overtaken” both (1)
the government’s 2020 certification that the defendant acted within the scope of his employment in
making his allegedly defamatory statements, and (2) the government’s 2020 motion to substitute the
United States for the defendant in this case under the Westfall Act. It nevertheless has requested
time following determination of the motion for leave to amend for the government to determine its
present position on the scope of employment question. In ali the circumstances, any further

submission by the United States (including any new or amended certification and/or motion to

Ba a pe!

be 9 Dees BBE
Case 1:20-cv-07311-LAK Document 169 Filed 06/13/23 Page 2 of 2

2

substitute) and/or the defendant with respect to substitution of the United States for the defendant
shall be served and filed no later than July 13, 2023. Any response by the plaintiff shall be served
and filed no later than July 27, 2023. Any reply(ies) by the United States and/or the defendant shall
be served and filed no later than August 3, 2023,

SO ORDERED.

Dated: June 13, 2023

 
